               IN THE SUPREME COURT OF NORTH CAROLINA

                                  2021-NCSC-58

                                    No. 60A20

                                Filed 11 June 2021

ASHLEY DEMINSKI, as guardian ad litem on behalf of C.E.D., E.M.D., and K.A.D.

             v.
THE STATE BOARD OF EDUCATION and THE PITT COUNTY BOARD OF
EDUCATION


      Appeal pursuant to N.C.G.S. § 7A-30(2) from the decision of a divided panel of

the Court of Appeals, 269 N.C. App. 165, 837 S.E.2d 611 (2020), reversing an order

denying defendant’s motion to dismiss in part entered on 3 July 2018 by Judge Vince

M. Rozier, Jr., in Superior Court, Wake County. On 3 June 2020, the Supreme Court

allowed defendant’s petition for discretionary review of additional issues. Heard in

the Supreme Court on 23 March 2021.


      Fox Rothschild LLP, by Troy D. Shelton, Matthew Nis Leerberg, and Ashley
      Honeycutt Terrazas, for plaintiff-appellant.

      Tharrington Smith, LLP, by Deborah R. Stagner, and Poyner Spruill LLP, by
      Edwin M. Speas, Jr. and Caroline P. Mackie, for defendant-appellee Pitt
      County Board of Education.

      Daniel K. Siegel and Kristi L. Graunke for ACLU of North Carolina Legal
      Foundation, amicus curiae.

      Lisa Grafstein and Virginia Fogg for Disability Rights North Carolina, amicus
      curiae.

      Perry Legal Services, PLLC, by Maria T. Perry, and Lawyers’ Committee for
      Civil Rights Under Law, by Mark Dorosin and Elizabeth Haddix, for North
      Carolina Advocates for Justice, amicus curiae.
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                                        Opinion of the Court




           Brooks, Pierce, McLendon, Humphrey &amp; Leonard, L.L.P., by Elizabeth L.
           Troutman and Jill R. Wilson, and North Carolina School Boards Association,
           by Allison Brown Schafer, for North Carolina School Boards Association,
           amicus curiae.


           NEWBY, Chief Justice.

¶1         In this case we consider whether an individual may bring a claim under the

     North Carolina Constitution for a school board’s deliberate indifference to continual

     student    harassment.   As   alleged,   this   indifference   denied   students   their

     constitutionally guaranteed right to the opportunity to receive a sound basic

     education. Article I, Section 15 of the North Carolina Constitution provides that “[t]he

     people have a right to the privilege of education, and it is the duty of the State to

     guard and maintain that right.” Where a government entity with control over the

     school is deliberately indifferent to ongoing harassment that prevents a student from

     accessing his constitutionally guaranteed right to a sound basic education, the

     student has a colorable claim under the North Carolina Constitution. Thus,

     governmental immunity does not bar the claim. Because plaintiff’s complaint

     sufficiently alleges a violation here, we hold that the trial court correctly denied

     defendant’s motion to dismiss. As such, we reverse the decision of the Court of

     Appeals.

¶2         Because this case involves a motion to dismiss, we take the following

     allegations as true from plaintiff’s complaint. Plaintiff is the mother of three minor
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children, E.M.D., K.A.D., and C.E.D. (plaintiff-students), who were students at

Lakeforest Elementary School in Pitt County. E.M.D. and K.A.D. are diagnosed with

autism. Over a period of several months during the fall semester of the 2016–2017

school year, C.E.D. was bullied and sexually harassed by other students. Throughout

the school day, Student #1 and Student #2 would grab C.E.D. by the shoulders and

push her spine so that she was in pain and had trouble breathing and swallowing.

Student #3 would stare at C.E.D., interrupt her during tests and other assignments,

and repeatedly talk to her during instructional time. The complaint also alleges the

following:

             13. Student #3 sexually harassed C.E.D. repeatedly during
             the school day:

                   a. On multiple occasions, Student #3 put his hands
                      in his pants to play with his genitals in C.E.D.’s
                      presence;

                   b. On multiple occasions, Student #3 informed
                      C.E.D. he “f**** like a gangster”;

                   c. On multiple occasions, Student #3 informed
                      C.E.D. he “want[s] to f*** [another student] from
                      night to morning”;

                   d. On multiple occasions, Student #3 informed
                      C.E.D. he has “got something special for you”
                      before putting his hands in his pants to play with
                      his genitals;

                   e. On multiple occasions, Student #3 would play
                      with his genitals and then attempt to touch
                      C.E.D.;
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                        f. On at least one occasion, on or about 6 October
                           2016, Student #3 pulled down his pants in the
                           hallway in C.E.D.’s presence to expose his penis
                           and wiggle it to simulate masturbation; and,

                        g. On at least one occasion, Student #3 pulled down
                           his pants in the classroom in C.E.D.’s presence to
                           expose his penis and show it to her.

                 ....

                 15. Student #4, perhaps encouraged by Student #3’s lewd
                 conduct going unaddressed, sexually harassed C.E.D.
                 repeatedly:

                        a. On multiple occasions, Student #4 would tell
                           C.E.D. and other students that he and C.E.D.
                           were dating and intimate;

                        b. On at least one occasion, Student #4 rolled a
                           piece of paper to approximate a penis and made
                           motions simulating masturbation while in
                           C.E.D.’s presence; and,

                        c. On at least one occasion, on or about 21 October
                           2016, Student #4 rolled a piece of paper to
                           approximate a penis, put it in his pants, walked
                           over to C.E.D. and attempted to show C.E.D. how
                           to insert himself into C.E.D.’s vagina. When
                           C.E.D. attempted to get away from Student #4
                           and move to another seat, Student #4 attempted
                           to reposition himself to attempt to get under
                           where C.E.D. would be sitting.

¶3         Meanwhile, E.M.D. and K.A.D. were also enrolled in classes with student #3.

     Both children experienced similar treatment from Student #3, “including sexual

     conduct, constant verbal interruptions laced with vulgarity, and physical violence
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     including knocking students’ items onto the floor, throwing objects, and pulling books

     and other items off shelves onto the ground.”

¶4          C.E.D. repeatedly informed her teacher about the incidents with all four

     students. C.E.D also informed plaintiff, and plaintiff repeatedly notified the teacher,

     assistant principal, and principal of the situation. Defendant, the Pitt County Board

     of Education, also knew of the incidents.1 Nonetheless, while school personnel

     insisted that there was a “process” that would “take time,” the bullying and

     harassment continued with no real change. On one occasion, attempting to resolve

     Student #3’s harassment of C.E.D., school personnel adjusted Student #3’s schedule

     to give him additional time in E.M.D. and K.A.D.’s classes.

¶5          In October 2016, plaintiff transferred C.E.D., E.M.D., and K.A.D. to a new

     school, which was initially designated as a transfer only for the 2016–2017 school

     year. The transfer was later modified to be valid for as long as plaintiff and plaintiff-

     students resided at their then-current address.

¶6          On 11 December 2017, plaintiff filed a complaint in Superior Court, Wake

     County, based on the allegations above. Plaintiff brought a claim under Article I,




            1 Plaintiff also named the State Board of Education as a defendant in this action. Both

     parties moved to dismiss at the trial court, and that court granted the State Board of
     Education’s motion in full. Thus, the Pitt County Board of Education is the only defendant to
     this appeal. “Defendant” in this opinion refers only to the Pitt County Board of Education.
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Section 15, and Article IX, Section 2 of the North Carolina Constitution.2 Plaintiff’s

complaint alleges:

              31. Article I, Section 15 and Article IX, Section 2 of the
              North Carolina State Constitution jointly guarantee each
              child the right to a “sound basic education.” . . . .

              32. The [plaintiff-students] were each denied their rights
              to a sound basic education as a result of being in a hostile
              academic environment where they were subjected to verbal
              and physical harassment, and in C.E.D.’s case to physical
              abuse and prolonged sexual harassment.

              33. Defendants had substantial control over the harassing
              conduct.

              34. The harassing conduct was severe and discriminatory.

              35. Defendants had actual knowledge of the harassing
              conduct.

              36. Defendants exhibited deliberate indifference to the
              harassing conduct.

              37. The [plaintiff-students] were each damaged as a result
              of the Defendants’ violations . . . .

Plaintiff seeks compensatory and punitive damages, a permanent injunction

preventing defendant from assigning or requiring plaintiff-students to attend

Lakeforest Elementary, attorneys’ fees, and any additional relief that the trial court

deems proper and just.



       2 Plaintiff also brought a claim for defendant’s alleged violation of the North Carolina

School Violence Prevention Act (SVPA). The trial court granted defendant’s motion to dismiss
that claim. Plaintiff did not appeal that portion of the trial court order.
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¶7         Defendant moved to dismiss, arguing in part that the constitutional claim is

     barred by the defense of sovereign or governmental immunity. The trial court denied

     defendant’s motion in part, allowing the claim under the North Carolina Constitution

     to proceed. Defendant appealed.

¶8         A divided panel of the Court of Appeals reversed the trial court’s order denying

     defendant’s motion to dismiss. Deminski v. State Bd. of Educ., 269 N.C. App. 165,

     166, 837 S.E.2d 611, 612 (2020). The Court of Appeals first determined that

     defendant’s appeal from the trial court’s denial of the motion to dismiss, though

     interlocutory, was immediately appealable. Id. at 169, 837 S.E.2d at 614. In doing so,

     the Court of Appeals reasoned that the trial court’s denial affected defendant’s

     substantial right to the defense of governmental immunity, should it apply here. Id.

¶9         The Court of Appeals next recognized that an individual may bring a direct

     claim under the North Carolina Constitution where her rights have been abridged

     but she is without an adequate state law remedy. Id. at 170, 837 S.E.2d at 615 (citing

     Corum v. Univ. of N.C., 330 N.C. 761, 782, 413 S.E.2d 276, 289 (1992)). The Court of

     Appeals also recognized that the right to education as provided in the North Carolina

     Constitution includes the right to a sound basic education. Id. at 171–72, 837 S.E.2d

     at 615–16 (citing Leandro v. State, 346 N.C. 336, 345, 488 S.E.2d 249, 254 (1997)).

     The Court of Appeals then compared the present case to Doe v. Charlotte-

     Mecklenburg Board of Education, 222 N.C. App. 359, 731 S.E.2d 245 (2012)
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       (concluding that the plaintiff’s complaint alleging constitutional violations under,

       inter alia, Article I, Section 15 was insufficient to state a colorable constitutional

       claim). Though Doe involved claims of negligence arising from a teacher’s sexual

       relationship with a high school student, the Court of Appeals concluded that, similar

       to its understanding of Doe, “abuse . . . or an abusive classroom environment” does

       not violate a constitutional right to education. Deminski, 269 N.C. App. at 174, 837

       S.E.2d at 617. In the Court of Appeals’ view, the constitutional guarantee extends no

       further than an entity affording a sound basic education by making educational

       opportunities available. Id. at 173, 837 S.E.2d at 616.

¶ 10         The dissenting opinion, however, would have concluded that plaintiff’s

       complaint sufficiently alleged that defendant failed to provide plaintiff-students with

       the constitutionally guaranteed opportunity to receive a sound basic education. Id. at

       176, 837 S.E.2d at 618 (Zachary, J., dissenting). The dissent opined that unlike in

       Doe, plaintiff’s complaint here alleged a colorable constitutional claim based on the

       school’s deliberate indifference to the hostile classroom environment. Id. at 177, 837

       S.E.2d at 619. Thus, the dissenting opinion would have affirmed the trial court’s

       order. Id. at 178, 837 S.E.2d at 619.
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¶ 11         Plaintiff appealed to this Court based on the dissenting opinion at the Court of

       Appeals.3 Plaintiff argues that defendant’s failure to intervene here denied plaintiff-

       students their constitutional right to the opportunity to receive a sound basic

       education. Thus, plaintiff contends that the complaint presented sufficient

       allegations of a colorable constitutional claim to survive defendant’s motion to

       dismiss. We agree. The right to the “privilege of education” and the State’s duty to

       “guard and maintain” that right extend to circumstances where a school board’s

       deliberate indifference to ongoing harassment prevents children from receiving an

       education. N.C. Const. art. I, § 15.

¶ 12         This Court reviews de novo a trial court’s order on a motion to dismiss. Bridges

       v. Parrish, 366 N.C. 539, 541, 742 S.E.2d 794, 796 (2013). When reviewing a motion

       to dismiss, an appellate court considers “whether the allegations of the complaint, if

       treated as true, are sufficient to state a claim upon which relief can be granted under

       some legal theory.” Coley v. State, 360 N.C. 493, 494–95, 631 S.E.2d 121, 123 (2006)

       (quoting Thompson v. Waters, 351 N.C. 462, 463, 526 S.E.2d 650, 650 (2000)).

¶ 13         Article I, Section 15 provides that “[t]he people have a right to the privilege of

       education, and it is the duty of the State to guard and maintain that right.” N.C.



             3 Additionally, plaintiff petitioned this Court to review whether the Court of Appeals

       properly determined that defendant had an immediate right to appeal the trial court’s
       interlocutory order based on the alleged substantial right of governmental immunity. This
       Court allowed plaintiff’s petition. We now conclude that discretionary review was
       improvidently allowed.
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       Const. art. I, § 15. This provision, added to the North Carolina Constitution in 1868,

       “was intended to mark a new and more positive role for state government. Not a

       restriction on what the state may do, it requires a commitment to social betterment”

       through educational opportunities. John V. Orth &amp; Paul Martin Newby, The North

       Carolina State Constitution 62 (2d ed. 2013).

¶ 14         Additionally, Article IX, Section 2 implements the right to education as

       provided in Article I. Specifically, Article IX, Section 2 states that “[t]he General

       Assembly shall provide by taxation and otherwise for a general and uniform system

       of free public schools . . . wherein equal opportunities shall be provided for all

       students.” Notably, these two provisions work in tandem: “Article I, Section 15 and

       Article IX, Section 2 of the North Carolina Constitution combine to guarantee every

       child of this state an opportunity to receive a sound basic education in our public

       schools.” Leandro, 346 N.C. at 347, 488 S.E.2d at 255. “An education that does not

       serve the purpose of preparing students to participate and compete in the society in

       which they live and work is devoid of substance and is constitutionally inadequate.”

       Id. at 345, 488 S.E.2d at 254; see also Sneed v. Greensboro City Bd. of Educ., 299 N.C.

       609, 618, 264 S.E.2d 106, 113 (1980) (“[E]qual access to participation in our public

       school system is a fundamental right, guaranteed by our state constitution and

       protected by considerations of procedural due process.”).
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¶ 15         Further, Article I, Section 15 places an affirmative duty on the government “to

       guard and maintain that right.” N.C. Const. art. I, § 15. Taken together, Article I,

       Section 15 and Article IX, Section 2 require the government to provide an opportunity

       to learn that is free from continual intimidation and harassment which prevent a

       student from learning. In other words, the government must provide a safe

       environment where learning can take place.

¶ 16         The issue here requires us to determine whether plaintiff’s complaint

       sufficiently alleges a claim for relief under Article I, Section 15 and Article IX, Section

       2. First, to allege a cause of action under the North Carolina Constitution, a state

       actor must have violated an individual’s constitutional rights. See Corum, 330 N.C.

       at 782–83, 413 S.E.2d at 289–90 (“The civil rights guaranteed by the Declaration of

       Rights in Article I of our Constitution are individual and personal rights entitled to

       protection against state action . . . . The fundamental purpose for its adoption was to

       provide citizens with protection from the State’s encroachment upon these rights.

       Encroachment by the State is, of course, accomplished by the acts of individuals who

       are clothed with the authority of the State.”); id. at 783–84, 413 S.E.2d at 290 (“This

       Court has recognized a direct action under the State Constitution against state

       officials for violation of rights guaranteed by the Declaration of Rights. . . . The

       authorities in North Carolina are consistent with the decisions of the United States

       Supreme Court . . . to the effect that officials and employees of the State acting in
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       their official capacity are subject to direct causes of action by plaintiffs whose

       constitutional rights have been violated.”).

¶ 17         Second, the claim must be colorable. See Craig v. New Hanover Cnty. Bd. of

       Educ., 363 N.C. 334, 335, 678 S.E.2d 351, 352 (2009) (referencing plaintiff’s “colorable

       claims” that may be brought directly under the North Carolina Constitution); Claim,

       Black’s Law Dictionary (11th ed. 2019) (defining “colorable claim” as “[a] plausible

       claim that may reasonably be asserted, given the facts presented and the current law

       (or a reasonable and logical extension or modification of the current law)”); see also

       Colorable, Black’s Law Dictionary (11th ed. 2019) (defining colorable as “appearing

       to be true, valid, or right”). In other words, the claim must present facts sufficient to

       support an alleged violation of a right protected by the State Constitution.

¶ 18         Third, there must be no “adequate state remedy.” Corum, 330 N.C. at 782, 413

       S.E.2d at 289; see also id. at 783, 413 S.E.2d at 290 (“Having no other remedy, our

       common law guarantees plaintiff a direct action under the State Constitution for

       alleged violations of his constitutional freedom of speech rights.”). No adequate state

       remedy exists when “state law [does] not provide for the type of remedy sought by the

       plaintiff.” Craig, 363 N.C. at 340, 678 S.E.2d at 356. Moreover, a claim that is barred

       by sovereign or governmental immunity is not an adequate remedy. “[T]o be

       considered adequate in redressing a constitutional wrong, a plaintiff must have at

       least the opportunity to enter the courthouse doors and present his claim.” Id. at 340–
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       41, 678 S.E.2d at 355. Notably, “when there is a clash between these constitutional

       rights and sovereign immunity, the constitutional rights must prevail.” Corum, 330

       N.C. at 786, 413 S.E.2d at 292; see id. at 785–86, 413 S.E.2d at 291 (“[S]overeign

       immunity cannot stand as a barrier to North Carolina citizens who seek to remedy

       violations of their rights guaranteed by the Declaration of Rights.”).

¶ 19         Here plaintiff alleged that defendant, the Pitt County Board of Education,

       failed to protect plaintiff-students’ constitutionally guaranteed right to education

       under Article I, Section 15 and Article IX, Section 2. The Pitt County Board of

       Education, as a government entity, is a government actor.

¶ 20         Next we must determine whether plaintiff has alleged a colorable

       constitutional claim. We have previously determined that the North Carolina

       Constitution provides the right to a sound basic education. See Leandro, 346 N.C. at

       345, 488 S.E.2d at 254. Here plaintiff has alleged that plaintiff-students have been

       denied that right because the school’s deliberate indifference to ongoing student

       harassment created an environment in which plaintiff-students could not learn.

       Notably, the right to a sound basic education rings hollow if the structural right exists

       but in a setting that is so intimidating and threatening to students that they lack a

       meaningful opportunity to learn. Despite the fact that plaintiff-students here were

       provided with a public school to attend, plaintiff alleges that defendant was

       deliberately indifferent to conduct that prevented plaintiff-students from accessing
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       their constitutionally guaranteed right to a sound basic education. Deliberate

       indifference indicates that the government entity knew about the circumstances

       infringing plaintiff-students’ constitutional right and failed to take adequate action

       to address those circumstances. The alleged facts here support plaintiff’s contention

       that the government did not “guard and maintain that right.” N.C. Const. art. I, § 15.

       As such, plaintiff has alleged a colorable constitutional claim. See Davis ex rel.

       LaShonda D. v. Monroe Cnty. Bd. of Educ., 526 U.S. 629, 644–47, 119 S. Ct. 1661,

       1672–73 (1999) (concluding that the plaintiff, a student, sufficiently stated a claim

       under Title IX where the defendant, a school board with control over the conduct at

       issue, was deliberately indifferent to known acts of ongoing sexual harassment).

¶ 21         Finally, looking at whether an adequate state remedy exists, here plaintiff

       seeks monetary damages as well as injunctive relief through, inter alia, a permanent

       injunction preventing defendant from assigning or requiring plaintiff-students to

       attend Lakeforest Elementary. The remedy sought here cannot be redressed through

       other means, as an adequate “state law remedy [does] not apply to the facts alleged”

       by plaintiff. Craig, 363 N.C. at 342, 678 S.E.2d at 356. Thus, plaintiff has alleged a

       colorable constitutional claim for which no other adequate state law remedy exists.4

       Therefore, sovereign or governmental immunity cannot bar plaintiff’s claim.



             4 We note that defendant successfully moved to dismiss plaintiff’s claims under the

       SVPA. Defendant pled sovereign or governmental immunity as a defense to any of plaintiff’s
       claims to which it would apply. The SVPA claim is not before us on appeal, and therefore we
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¶ 22          Nonetheless, defendant argues that the Court of Appeals correctly relied on its

       precedent in Doe to reach its decision here. Doe, as an opinion from the Court of

       Appeals, is not binding on this Court. Moreover, Doe is clearly distinguishable from

       this case. In Doe a teacher made sexual advances on and off school grounds toward

       and engaged in sexual activity with the plaintiff, a high school student. Doe, 222 N.C.

       App. at 361, 731 S.E.2d at 247. The plaintiff sued the school board for negligent

       infliction of emotional distress and negligent hiring, supervision, and retention. The

       plaintiff also brought a claim against the defendant for violating her constitutional

       right to an education under, inter alia, Article I, Section 15. Id. at 361, 731 S.E.2d at

       247. In her complaint, the plaintiff merely contended that the defendant’s negligence

       in hiring and overseeing the teacher violated the plaintiff’s rights.

¶ 23          At the trial court, the defendant in Doe unsuccessfully moved to dismiss the

       constitutional claims. Id. at 362, 731 S.E.2d at 247–48. The Court of Appeals

       reversed, however, concluding that the plaintiff’s complaint did not state a colorable

       claim under the North Carolina Constitution. Id. at 371, 731 S.E.2d at 253. The Court

       of Appeals determined that the constitutionally guaranteed right to a sound basic




       express no opinion on the merits of that claim. We note, however, that having sought and
       obtained dismissal of the SVPA claim as barred by governmental immunity, defendant
       cannot assert that it is an adequate state remedy that would redress the harm alleged here.
       See Craig, 363 N.C. at 340–41, 678 S.E.2d at 355 (“[T]o be considered adequate in redressing
       a constitutional wrong, a plaintiff must have at least the opportunity to enter the courthouse
       doors and present his claim.”).
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       education does not extend “beyond matters that directly relate to the nature, extent,

       and quality of the educational opportunities made available to students in the public

       school system.” Id. at 370, 731 S.E.2d at 252–53. Here, however, plaintiff’s complaint

       states a colorable claim under the North Carolina Constitution. Plaintiff has alleged

       that defendant prevented plaintiff-students from accessing their constitutional right

       to a sound basic education as a result of defendant’s deliberate indifference to ongoing

       harassment in the classroom. Thus, plaintiff’s allegations directly impact the “nature,

       extent, and quality of the educational opportunities made available” to plaintiff-

       students as well as indicate that the government failed to “guard and maintain that

       right.”

¶ 24             The decision of the Court of Appeals, which reversed the trial court order

       denying defendant’s motion to dismiss, is reversed. As for plaintiff’s petition for

       discretionary review of additional issues, we conclude that discretionary review was

       improvidently allowed.

                 REVERSED IN PART; DISCRETIONARY REVIEW IMPROVIDENTLY

       ALLOWED IN PART.
